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 9

10
                          UNITED STATES DISTRICT COURT
11                       NORTHERN DISTRICT OF CALIFORNIA
12

13   STATE NATIONAL INSURANCE                    )   Case No:
14   CO., INC.,                                  )
                                                 )
15                                  Plaintiff,   )
16                                               )   COMPLAINT FOR
     v.                                          )   DECLARATORY RELIEF AND
17                                               )   REIMBURSEMENT
18   CHRIS FITZSIMONS; CCFDCY I,                 )
     LLC; KRISTEN MARY, DAVID                    )
19   CHUNG, and DOES 1 through 20                )
20                                               )
                                Defendants.      )
21                                               )
22

23           Plaintiff State National Insurance Company, Inc. ("Plaintiff") hereby brings
24   this complaint against defendants Chris Fitzsimons and CCFDCY I, LLC
25   (collectively "Insured Defendants") as well as Kristen Mary and David Chung
26   (collectively "Tenant Defendants"). Plaintiff alleges as follows:
27

28
                                                 1
                         COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                                     INTRODUCTION
 2           1.     Plaintiff is affording a defense to the Insured Defendants in an
 3   underlying action filed by the Tenant Defendants entitled Mary, et al v. Christine
 4   Fitzsimons, et al., San Francisco Superior Court Case No. CGC-20-587773 ("the
 5   underlying action"). (Attached as Exhibit 1 is a true and correct copy of the
 6   complaint filed in the underlying action.) Plaintiff seeks a declaration that it has
 7   no duty to indemnify Insured Defendants in the underlying action pursuant to
 8   insurance policies Plaintiff issued. Plaintiff also seeks reimbursement of defense
 9   fees and costs it expended on behalf of Insured Defendants to defend against non-
10   covered claims.
11                                       THE PARTIES
12           2.     Plaintiff is now and was at all relevant times a corporation formed
13   under the laws of the State of Texas with its principal place of business in
14   Bedford, Texas. At all times mentioned in this complaint, Plaintiff has been
15   authorized to do business in the State of California.
16           3.     Plaintiff is informed and believes, and thereon alleges that defendant
17   Chris Fitzsimons is an individual residing in San Francisco, California.
18           4.     Defendant CCFDCY I, LLC is a limited liability company organized
19   under the laws of the State of California with its principal place of business in San
20   Francisco, California.
21           5.     Plaintiff is informed and believes, and thereon alleges that defendant
22   Kristen Mary is an individual residing in Tiburon, California.
23           6.     Plaintiff is informed and believes, and thereon alleges that defendant
24   David Chung is an individual residing in Tiburon, California.
25                             JURISDICTION AND VENUE
26           7.     This is an action for declaratory relief pursuant to 28 U.S.C. § 2201
27   and Rule 57 of the Federal Rules of Civil Procedure to resolve an actual
28   controversy between the parties as set forth herein. This Court has jurisdiction
                                                  2
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1   over this action pursuant to 28 U.S.C § 1332, because there is complete diversity
 2   of citizenship between Plaintiff, on one hand, and the insured defendants and
 3   tenants, on the other, and there is more than $75,000 in controversy.
 4           8.     Venue is proper pursuant to 28 U.S.C. § 1391(a). Venue is proper in
 5   this Court pursuant to 28 U.S.C. § 1391(b), because this is a civil action in which
 6   subject matter jurisdiction is founded only on diversity of citizenship and the
 7   action is brought in a judicial district in California where Insured Defendants
 8   were doing business in at all relevant times and in which the policies were issued
 9   to Insured Defendants.
10                               FACTUAL BACKGROUND
11                                   The Insurance Policies
12           9.     Plaintiff issued an insurance policy containing Commercial General
13   Liability ("CGL") coverage to CCFDCY I, LLC, designated as Policy No. QJT-
14   SN002534-00, effective August 24, 2018 to August 24, 2019. The policy was
15   renewed as Policy No. QJT-SN002534-01, effective August 24, 2019 to August
16   24, 2020 (complaint "the policies"). The policies contain limits of $1 million for
17   Each Occurrence and $1 million for Personal and Advertising Injury, subject to a
18   $2 million General Aggregate Limit (including Products-Completed Operations).
19   The CGL declarations for the policy identifies Location Number 1 as 2835
20   Steiner St., San Francisco, CA 94123. The policies insure CCFDCY I, LLC as a
21   limited liability company with Classification 60010: Apartment Buildings. CGL
22   coverage is provided under Form CG 00 01 04 13.
23
             10.    The coverage form includes the following pertinent terms:
24
                    SECTION I – COVERAGES
25                  COVERAGE A BODILY INJURY AND
26                  PROPERTY DAMAGE LIABILITY
27                  1. Insuring Agreement
28
                                                  3
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                  a. We will pay those sums that the insured becomes
 2
                       legally obligated to pay as damages because of
                       "bodily injury" or "property damage" to which this
 3                     insurance applies. We will have the right and duty
 4
                       to defend the insured against any "suit" seeking
                       those damages. However, we will have no duty to
 5                     defend the insured against any "suit" seeking
 6                     damages for "bodily injury" or "property damage"
                       to which this insurance does not apply. We may,
 7                     at our discretion, investigate any "occurrence" and
 8                     settle any claim or "suit" that may result. But:

 9                    (1) The amount we will pay for damages is limited
                         as described in Section III – Limits Of
10
                         Insurance; and
11
                      (2) Our right and duty to defend ends when we
12                       have used up the applicable limit of insurance
13                       in the payment of judgments or settlements
                         under Coverages A or B or medical expenses
14                       under Coverage C.
15
                    No other obligation or liability to pay sums or
16                  perform acts or services is covered unless explicitly
                    provided for under Supplementary Payments –
17
                    Coverages A and B.
18
                    b. This insurance applies to "bodily injury" and
19                     "property damage" only if:
20
                      (1) The "bodily injury" or "property damage" is
21                       caused by an "occurrence" that takes place in
                         the "coverage territory";
22

23                    (2) The "bodily injury" or "property damage"
                         occurs during the policy period; and
24
                      (3) Prior to the policy period, no insured listed
25
                         under Paragraph 1. of Section II – Who Is An
26                       Insured and no "employee" authorized by you
                         to give or receive notice of an "occurrence" or
27
                         claim, knew that the "bodily injury" or
28                       "property damage" had occurred, in whole or in
                                               4
                       COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                       part. If such a listed insured or authorized
 2
                         "employee" knew, prior to the policy period,
                         that the "bodily injury" or "property damage"
 3                       occurred, then any continuation, change or
 4
                         resumption of such "bodily injury" or "property
                         damage" during or after the policy period will
 5                       be deemed to have been known prior to the
 6                       policy period.

 7                  c. "Bodily injury" or "property damage" which
                       occurs during the policy period and was not, prior
 8
                       to the policy period, known to have occurred by
 9                     any insured listed under Paragraph 1. of Section II
                       – Who Is An Insured or any "employee"
10
                       authorized by you to give or receive notice of an
11                     "occurrence" or claim, includes any continuation,
                       change or resumption of that "bodily injury" or
12
                       "property damage" after the end of the policy
13                     period.
14                  d. "Bodily injury" or "property damage" will be
15                    deemed to have been known to have occurred at
                      the earliest time when any insured listed under
16                    Paragraph 1. of Section II – Who Is An Insured or
17                    any "employee" authorized by you to give or
                      receive notice of an "occurrence" or claim:
18
                      (1) Reports all, or any part, of the "bodily injury"
19
                         or "property damage" to us or any other
20                       insurer;
21                    (2) Receives a written or verbal demand or claim
22                       for damages because of the "bodily injury" or
                         "property damage"; or
23
                      (3) Becomes aware by any other means that
24
                         "bodily injury" or "property damage" has
25                       occurred or has begun to occur.
26                                           ***
27

28
                                               5
                       COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                  COVERAGE B- PERSONAL AND ADVERTISING
 2
                    INJURY LIABILITY

 3                  1. Insuring Agreement
 4                       a. We will pay those sums that the insured becomes
 5
                            legally obligated to pay as damages because of
                            "personal and advertising injury" to which this
 6                          insurance applies.
 7
                      b. This insurance applies to "personal and
 8                      advertising injury" caused by an offense arising out
                        of your business but only if the offense was
 9
                        committed in the "coverage territory" during the
10                      policy period.
                                             ***
11
                    2. Exclusions
12
                         This insurance does not apply to:
13
                                                  ***
14
                         f. Breach of Contract
15
                          "Personal and advertising injury" arising out of a
16                        breach of contract, except an implied contract to use
17                        another's advertising idea in your "advertisement."

18                                                ***
19                  SUPPLEMENTARY PAYMENTS – COVERAGES
                    A AND B
20

21
                    1. We will pay, with respect to any claim we
                      investigate or settle, or any "suit" against an insured
22                    we defend:
23                                              ***
                      e. All court costs taxed against the insured in the
24                       "suit". However, these payments do not include
25                       attorneys' fees or attorneys' expenses taxed against
                         the insured.
26                                              ***
27                  SECTION II – WHO IS AN INSURED

28                  1.      If you are designated in the Declarations as:
                                                    6
                            COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                                              ***
 2                     c. A limited liability company, you are an insured.
                          Your members are also insureds, but only with
 3
                          respect to the conduct of your business. Your
 4                        managers are insureds, but only with respect to
                          their duties as your managers.
 5
                                                ***
 6
                    2. Each of the following is also an insured:
 7
                        b. Any person (other than your "employee" or
 8
                           "volunteer worker"), or any organization while
 9                         acting as your real estate manager.
10                                              ***
11                  SECTION V- DEFINITIONS
12                                            ***
                    3. "Bodily injury" means bodily injury, sickness or
13
                       disease sustained by a person, including death
14                     resulting from any of these at any time.
15                  13."Occurrence" means an accident, including
16                     continuous or repeated exposure to substantially the
                       same general harmful conditions.
17

18
                    14."Personal and advertising injury" means injury,
                       including consequential "bodily injury," arising out
19                     of one or more of the following offenses:
20                                              ***
21                     c. The wrongful eviction from, wrongful entry into,
                          or invasion of the right of private occupancy of a
22                        room, dwelling or premises that a person occupies,
23                        committed by or on behalf of its owner, landlord
                          or lessor;
24
                                               ***
25                  17."Property damage" means:
26                     a. Physical injury to tangible property, including all
27                        resulting loss of use of that property. All such loss
                          of use shall be deemed to occur at the time of the
28                        physical injury that caused it; or
                                                  7
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                     b. Loss of use of tangible property that is not
 2
                          physically injured. All such loss of use shall be
                          deemed to occur at the time of the "occurrence"
 3                        that caused it.
 4
                                              ***

 5   The policies contain the following endorsements in pertinent part:
 6                               ABSOLUTE LEAD EXCLUSION
 7
                    COMMERCIAL GENERAL LIABILITY COVERAGE
 8                  FORM
                                                ***
 9
                    This insurance does not apply to "bodily injury",
10                  "property damage" or "personal and advertising injury"
                    for past, present or future claims arising in whole or in
11
                    part, either directly or indirectly, out of the suspected,
12                  actual or alleged:
13                        a.     Manufacture of;
14                        b.     Distribution of;
15
                          c.     Transportation of;
                          d.     Sale of;
16
                          e.     Resale of;
17                        f.     Re-branding of;
18                        g.     Installation of;
                          h.     Repair of;
19
                          i.     Removal of;
20
                          j.     Encapsulation of;
21                        k.     Abatement of;
22                        l.     Replacement of;
                          m.     Carried on clothing;
23
                          n.     Handling of;
24                        o.     Storage of;
25                        p.     Ingestion of;
26                        q.     Absorption of;
                          r.     Physical exposure to; or
27
                          s.     Testing for
28
                                                  8
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1                  lead paint or other products containing lead whether or
 2
                    not the lead is or was at any time airborne as a particle,
                    contained in a product ingested, inhaled, transmitted in
 3                  any fashion, or found in any form whatsoever.
 4                  In addition this exclusion applies to:
 5
                    (1) The costs of clean up or removal of lead or products
 6                      and materials containing lead;
 7
                    (2) The cost of such actions as may be necessary to
 8                      monitor, assess and evaluate the release or threat of
                        release of lead or products and material containing
 9
                        lead:
10
                    (3) The cost of disposal of lead substances or the taking
11                      of such other action that may be necessary to
12                      temporarily or permanently prevent, minimize or
                        mitigate damage to the public health or welfare or to
13                      the environment, which may otherwise result;
14
                    (4) The cost of compliance with any law or regulation
15                      regarding lead.
16                      The company does not have any obligation to
17                      defend, adjust, investigate or pay any cost for
                        investigation, defense, adjustment, or attorney fees
18                      which are excluded under the terms of this
19                      endorsement.

20   All other terms and conditions remain the same.
21                                              ***
22                                  The Underlying Action
23           11.    On November 17, 2020, Tenant Defendants filed the underlying
24   action against Insured Defendants. The underlying action involves one unit
25   located at 2835 Steiner St., # 2, San Francisco, CA 94123 ("the property"). (Ex. 1,
26   ¶ 11.) The complaint lists causes of action for (1) negligence; (2) breach of the
27   implied warranty of habitability; (3) breach of the implied warranty of quiet
28   enjoyment; (4) intentional infliction of emotional distress; (5) breach of contract;
                                                  9
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1   (6) breach of covenant of good faith and fair dealing; (7) private nuisance; and (8)
 2   violation of S.F. Admin. Code, Ch. 37. (Ex. 1.)
 3           12.    Tenant Defendants allege that Insured Defendants owned and
 4   managed the property and that Fitzsimons is the agent and property manager of
 5   CCFDCY. (Ex. 1, ¶¶ 3, 12.)
 6           13.    Tenant Defendants allege they were tenants at the property from July
 7   2007 to November 9, 2019. During that tenancy, substantial defective conditions
 8   allegedly existed at the property. These conditions included violations of the City
 9   of San Francisco Building Code and the City of San Francisco Health Department
10   for which Insured Defendants received notices of violation. Insured Defendants
11   allegedly received notice that work on the property was illegal, uninhabitable, and
12   was performed without permits, and exposed Tenant Defendants to unsafe,
13   illegal, and severe levels of lead contamination. Ms. Mary was pregnant at this
14   time.
15           14.    Tenant Defendants allege that Insured Defendants constructively
16   evicted them from the unsafe, dangerous, and uninhabitable unit. (Ex. 1 ¶ 15.)
17   Tenant Defendants prayed for: (1) compensatory damages; (2) general damages;
18   (3) special damages; (4) attorneys' fees and costs (only as to breach of contract
19   and breach of the covenant of good faith and fair dealing); (5) punitive damages
20   (only as to private nuisance and intentional infliction of emotional distress); (6)
21   attorneys' fees and costs pursuant to S.F. Admin. Code (only as to violation of
22   S.F. Admin Code, Ch. 37); and (7) treble damages pursuant to S.F. Admin. Code
23   (only as to violation of S.F. Admin Code, Ch. 37).
24           15.    On October 13, 2019, Insured Defendants gave notice to terminate
25   the tenancies of Tenant Defendants. On November 12, 2019, Tenant Defendants
26   vacated the unit.
27           16.    Plaintiff is informed and believes, and thereon alleges, that in
28   November 2019, as soon as Tenant Defendants vacated the property, Tenant
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 1   Defendants and Insured Defendants engaged in settlement discussions regarding
 2   the claims that gave rise to the underlying action. Tenant Defendants claimed they
 3   incurred $7,138 in damages for their tangible property losses. Insured Defendants
 4   offered $2,100 if Tenant Defendants returned some of the replacement property
 5   Tenant Defendants had purchased to Insured Defendants, or alternatively, $1,200
 6   if Tenant Defendants kept the purchased property. No settlement was reached,
 7   and Tenant Defendants subsequently filed the underlying action. Insured
 8   Defendants did not notify Plaintiff of Tenant Defendants' claims or the
 9   subsequent settlement negotiations.
10           17.    Pursuant to Tenant Defendants' written discovery responses in the
11   underlying action, Tenant Defendants' claimed damages in the underlying action
12   arise from Ms. Mary's alleged injuries while pregnant because of lead exposure.
13   Tenant Defendants claim approximately $300,000 in special damages, primarily
14   related to Ms. Mary's alleged pregnancy complications and postpartum
15   hospitalization, which plaintiffs attribute to stress caused by the lead abatement
16   during the late-term of Ms. Mary's pregnancy.
17                                  CAUSES OF ACTION
18                                    First Cause of Action
19                        Declaratory Relief against All Defendants
20        (No Duty to Indemnify Insured Defendants in the Underlying Action)
21           18.    Plaintiff refers to and incorporates herein by reference each and
22   every allegation set forth above as if set forth here in full.
23           19.    Tenant Defendants' claimed damages in the underlying action arise
24   from Ms. Mary's alleged injuries while pregnant because of lead exposure.
25   Tenant Defendants' claimed damages are not covered under the policies, as they
26   are subject to the Absolute Lead Exclusion, which provides there is no coverage
27   for past, present, or future claims arising in whole or in part, either directly or
28   indirectly, out of the suspected, actual or alleged removal of, repair of, abatement
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 1   of, handling of, ingestion of, storage of, or physical exposure to lead paint or
 2   other products containing lead.
 3           20.    In accordance with the insuring agreements, provisions, terms,
 4   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 5   no duty to indemnify Insured Defendants in the underlying action for any
 6   damages arising out of lead exposure.
 7           21.    Plaintiff is informed and believes and thereon alleges that defendants
 8   contend that there is coverage under the policies for the underlying action, and
 9   that Plaintiff has a duty to indemnify Insured Defendants in connection with the
10   underlying action under the policies.
11           22.    An actual dispute and controversy exists between Plaintiff and
12   defendants as to coverage under the policies for the underlying action and
13   Plaintiff's lack of a duty to indemnify Insured Defendants under the policies and
14   applicable law, and a judicial determination is necessary to resolve this dispute.
15           23.    Plaintiff seeks a declaration from this Court that there is no coverage
16   for the underlying action and that Plaintiff has no obligation to indemnify Insured
17   Defendants for any damages arising out of lead exposure in the underlying action.
18                                  Second Cause of Action
19                        Declaratory Relief against All Defendants
20                   (No Duty to Indemnify: Failure to Provide Notice)
21           24.    Plaintiff refers to and incorporates herein by reference each and
22   every allegation set forth above as if set forth here in full.
23           25.    The policies require that Insured Defendants give Plaintiff notice of
24   any occurrence or offense as soon as practicable.
25           26.    Plaintiff is informed and believes, and thereon alleges that Tenant
26   Defendants made claims against Insured Defendants as soon as they vacated the
27   property in November 2019. Tenant Defendants and Insured Defendants engaged
28   in settlement discussions at that time. During those discussions, Tenant
                                                 12
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 1   Defendants made a demand of $7,138.00 to resolve the claim that gave rise to the
 2   underlying action. Insured Defendants made counter-offers in the $1,000 to
 3   $2,000 range. Insured Defendants did not notify Plaintiff of Tenant Defendants'
 4   claims as required under the policies.
 5           27.    Insured Defendants' failure to notify Plaintiff of Tenant Defendants'
 6   claims in November 2019, and the demand of less than $8,000.00 has
 7   substantially prejudiced Plaintiff. Specifically, Insured Defendants' failure to
 8   notify Plaintiff denied Plaintiff the opportunity to reach a settlement with Tenant
 9   Defendants for the pre-litigation demand of less than $8,000.00.
10           28.    In accordance with the insuring agreements, provisions, terms,
11   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
12   no duty to indemnify Insured Defendants in the underlying action for failure to
13   comply with the notice provision in the policies.
14           29.    Plaintiff is informed and believes and thereon alleges that defendants
15   contend that there is coverage under the policies for the underlying action, and
16   that Plaintiff has a duty to indemnify Insured Defendants in connection with the
17   underlying action under the policies.
18           30.    An actual dispute and controversy exists between Plaintiff and
19   defendants as to coverage under the policies for the underlying action and
20   Plaintiff's lack of a duty to indemnify Insured Defendants under the policies and
21   applicable law, and a judicial determination is necessary to resolve this dispute.
22           31.    Plaintiff seeks a declaration from this Court that there is no coverage
23   for the underlying action and that Plaintiff has no obligation to indemnify Insured.
24   Defendants because of the failyre to comply with the notice provision.
25   ///
26   ///
27   ///
28   ///
                                                 13
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 1                                   Third Cause of Action
 2                        Declaratory Relief against All Defendants
 3         (No Duty to Indemnify for Intentional Infliction of Emotional Distress)
 4           32.    Plaintiff refers to and incorporates herein by reference each and
 5   every allegation set forth above as if set forth here in full.
 6           33.    In accordance with the insuring agreements, provisions, terms,
 7   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 8   no duty to indemnify Insured Defendants for the intentional infliction of
 9   emotional distress claim asserted in the underlying action under the policies or
10   applicable law, in whole or in part.
11           34.    Plaintiff is informed and believes and thereon alleges that defendants
12   contend that there is coverage under the policies for the cause of action for
13   intentional infliction of emotional distress under the policies.
14           35.    An actual dispute and controversy exists between Plaintiff and
15   defendants as to coverage under the policies for the underlying action and
16   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to the
17   intentional infliction of emotional distress claim alleged in the underlying action
18   under the policies and applicable law, and a judicial determination is necessary to
19   resolve this dispute.
20           36.    Plaintiff seeks a declaration from this Court that there is no coverage
21   for the intentional infliction of emotional distress claim asserted in the underlying
22   action and that Plaintiff has no obligation to indemnify the Insured Defendants
23   with respect to the intentional infliction of emotional distress claim alleged in the
24   underlying action.
25   ///
26   ///
27   ///
28   ///
                                                 14
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 1                                  Fourth Cause of Action
 2                        Declaratory Relief against All Defendants
 3                  (No Duty to Indemnify for Breach of Contract Claim)
 4           37.    Plaintiff refers to and incorporates herein by reference each and
 5   every allegation set forth above as if set forth here in full.
 6           38.    In accordance with the insuring agreements, provisions, terms,
 7   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 8   no duty to indemnify Insured Defendants for the cause of action for breach of
 9   contract asserted in the underlying action under the policies or applicable law, in
10   whole or in part.
11           39.    Plaintiff is informed and believes and thereon alleges that defendants
12   contend that there is coverage under the policies for the cause of action for breach
13   of contract under the policies.
14           40.    An actual dispute and controversy exists between Plaintiff and
15   defendants as to coverage under the policies for the underlying action and
16   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to the
17   breach of contract claim alleged in the underlying action under the policies and
18   applicable law, and a judicial determination is necessary to resolve this dispute.
19           41.    Plaintiff seeks a declaration from this Court that there is no coverage
20   for the breach of contract claim asserted in the underlying action and that Plaintiff
21   has no obligation to indemnify the Insured Defendants with respect to that claim.
22                                   Fifth Cause of Action
23                        Declaratory Relief against All Defendants
24             (No Duty to Indemnify for Breach of Covenant of Good Faith)
25           42.    Plaintiff refers to and incorporates herein by reference each and
26   every allegation set forth above as if set forth here in full.
27           43.    In accordance with the insuring agreements, provisions, terms,
28   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
                                                 15
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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 1   no duty to indemnify Insured Defendants for the cause of action for breach of
 2   covenant of good faith and fair dealing asserted in the underlying action under the
 3   policies or applicable law, in whole or in part.
 4           44.    Plaintiff is informed and believes and thereon alleges that defendants
 5   contend that there is coverage under the policies for the cause of action for breach
 6   of contract under the policies.
 7           45.    An actual dispute and controversy exists between Plaintiff and
 8   defendants as to coverage under the policies for the underlying action and
 9   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to the
10   breach of covenant of good faith and fair dealing claim alleged in the underlying
11   action under the policies and applicable law, and a judicial determination is
12   necessary to resolve this dispute.
13           46.    Plaintiff seeks a declaration from this Court that there is no coverage
14   for the breach of covenant of good faith and fair dealing claim asserted in the
15   underlying action and that Plaintiff has no obligation to indemnify the Insured
16   Defendants with respect to that claim.
17                                   Sixth Cause of Action
18                        Declaratory Relief against All Defendants
19     (No Duty to Indemnify for Tenant Defendants' Attorney's Fees and Costs)
20           47.    Plaintiff refers to and incorporates herein by reference each and
21   every allegation set forth above as if set forth here in full.
22           48.    Tenant Defendants pray for attorneys' fees and costs in the
23   underlying action.
24           49.    The policies Supplementary Payment Provision excludes coverage
25   for the underlying plaintiffs' Attorneys' Fees and Costs.
26           50.    Plaintiff also relies upon all additional terms, definitions, exclusions,
27   conditions, and endorsements in the policies not specifically identified herein that
28   potentially limit or preclude coverage for attorneys' fees and costs.
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 1           51.     In accordance with the insuring agreements, provisions, terms,
 2   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 3   no duty to indemnify Insured Defendants for Tenant Defendants' attorneys' fees
 4   and costs in the underlying action.
 5           52.     Plaintiff is informed and believes and thereon alleges that defendants
 6   contend that there is actual coverage under the policies for the underlying action,
 7   and that Plaintiff has a duty to indemnify Insured Defendants in connection with
 8   the prayer for attorneys' fees and costs asserted in the underlying action under the
 9   policies.
10           53.     An actual dispute and controversy exists between Plaintiff and
11   defendants as to coverage under the policies for the underlying action and
12   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to the
13   prayer for attorneys' fees and costs alleged in the underlying action under the
14   policies and applicable law, and a judicial determination is necessary to resolve
15   this dispute.
16           54.     Plaintiff seeks a declaration from this Court that there is no coverage
17   for Tenant Defendants' attorneys' fees and costs in the underlying action and that
18   Plaintiff has no obligation to indemnify the Insured Defendants with respect to
19   those attorneys' fees and costs.
20                                   Seventh Cause of Action
21                         Declaratory Relief against All Defendants
22           (No Duty to Indemnify for Treble Damages or Punitive Damages)
23           55.     Plaintiff refers to and incorporates herein by reference each and
24   every allegation set forth above as if set forth here in full.
25           56.     Tenant Defendants pray for treble damages and punitive damages in
26   the underlying action.
27           57.     There is no coverage for treble damages and punitive damages under
28   the policies and/or California law.
                                                  17
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 1           58.    Plaintiff also relies upon all additional terms, definitions, exclusions,
 2   conditions, and endorsements in the policies not specifically identified herein that
 3   potentially limit or preclude coverage for treble and/or punitive damages.
 4           59.    In accordance with the insuring agreements, provisions, terms,
 5   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 6   no duty to indemnify Insured Defendants for treble damages or punitive damages
 7   in the underlying action.
 8           60.    Plaintiff is informed and believes and thereon alleges that defendants
 9   contend that there is actual coverage under the policies for the underlying action,
10   and that Plaintiff has a duty to indemnify Insured Defendants in connection with
11   treble and punitive damages in the underlying action under the policies.
12           61.    An actual dispute and controversy exists between Plaintiff and
13   defendants as to coverage under the policies for the underlying action and
14   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to treble
15   and/or punitive damages in the underlying action under the policies and
16   applicable law, and a judicial determination is necessary to resolve this dispute.
17                                  Eighth Cause of Action
18                     For Reimbursement of Defense Fees and Costs
19           62.    Plaintiff refers to and incorporates herein by reference each and
20   every allegation set forth above as if set forth here in full.
21           63.    Plaintiff agreed to defend Insured Defendants in the underlying
22   action under a reservation of rights, including the right to seek reimbursement of
23   attorneys' fees and costs expended to defend Insured Defendants for claims not
24   covered under the policies.
25           64.    There is no coverage for the underlying action under the policies.
26           65.    Accordingly, Plaintiff is entitled to reimbursement for the full
27   amount it expended to defend the Insured Defendants in the underlying action
28   with interest.
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 1                                   Ninth Cause of Action
 2                        Declaratory Relief against All Defendants
 3                        (No Duty to Indemnify for Civil Penalties)
 4           66.    Plaintiff refers to and incorporates herein by reference each and
 5   every allegation set forth above as if set forth here in full.
 6           67.    In accordance with the insuring agreements, provisions, terms,
 7   conditions, exclusions, and endorsements of the policies, Plaintiff contends it has
 8   no duty to indemnify Insured Defendants for the cause of action for Violation of
 9   San Francisco Administrative Code, Ch. 37 and the related monetary penalties.
10           68.    Plaintiff is informed and believes and thereon alleges that defendants
11   contend that there is coverage under the policies for these damages.
12           69.    An actual dispute and controversy exists between Plaintiff and
13   defendants as to coverage under the policies for the underlying action and
14   Plaintiff's lack of a duty to indemnify Insured Defendants with respect to damages
15   for monetary penalties in the underlying action under the policies and applicable
16   law, and a judicial determination is necessary to resolve this dispute.
17           70.    Plaintiff seeks a declaration from this Court that there is no coverage
18   for monetary penalties in the underlying action.
19                                 PRAYER FOR RELIEF
20           Plaintiff prays for judgment against Insured Defendants as follows:
21           1.     For a judicial declaration that there is no coverage under the policies
22   for damages arising out of lead exposure, and thus, Plaintiff has no duty to
23   indemnify Insured Defendants in the underlying action;
24           2.     For a judicial declaration that there is no coverage under the policies,
25   and thus, Plaintiff has no duty to indemnify Insured Defendants based upon
26   breach of the Notice Provision in the policies and the prejudice it caused Plaintiff;
27           3.     For a judicial declaration that there is no coverage under the policies,
28   and thus, Plaintiff has no duty to indemnify Insured Defendants with respect to
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 1   the cause of action for intentional infliction of emotional distress in the
 2   underlying action;
 3           4.     For a judicial declaration that there is no coverage under the policies,
 4   and thus, Plaintiff has no duty to indemnify Insured Defendants with respect to
 5   the breach of contract claim alleged in the underlying action;
 6           5.     For a judicial declaration that there is no coverage under the policies
 7   and thus, Plaintiff has no duty to indemnify Insured Defendants with respect to
 8   the breach of covenant of good faith and fair dealing claim alleged in the
 9   underlying action;
10           6.     For a judicial declaration that there is no coverage under the policies
11   for Tenant Defendants' attorneys' fees and costs in the underlying action;
12           7.     For a judicial declaration that there is no coverage under the policies,
13   and thus, Plaintiff has no duty to indemnify Insured Defendants for treble and
14   punitive damages;
15           8.     For reimbursement of attorney's fees and costs Plaintiff incurred to
16   defend Insured Defendants in the underlying action according to proof;
17           9.     For a judicial declaration that there is no coverage under the policies,
18   and that Plaintiff has no duty to indemnify Insured Defendants for monetary
19   penalties;
20           10.    For such other and further relief as the Court deems just and proper.
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 1   Dated: June 29, 2022                          WILSON, ELSER, MOSKOWITZ,
 2
                                                     EDELMAN & DICKER LLP

 3

 4

 5                                         By: /s/ Danica Lam
 6                                                 Michelle R. Press
                                                   Danica Lam
 7                                                 Attorneys for Plaintiff STATE
 8                                                 NATIONAL INSURANCE CO.,
                                                   INC.
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